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                                  No. 21-13146

                                     IN THE
   United States Court of Appeals for the Eleventh Circuit
                               ________________
        ERIC STEINMETZ; MICHAEL FRANKLIN; AND SHENIKA THEUS,
           individually and on behalf of all others similarly situated,
                                             Plaintiffs-Appellees,

                                        v.

                        BRINKER INTERNATIONAL, INC.,
                                          Defendant-Appellant.
                               ________________
                    On Fed. R. Civ. P. 23(f) Appeal from the
          United States District Court for the Middle District of Florida
              in Case No. 3:18-cv-00686-TJC-MCR (Corrigan, J.)
                               ________________
  APPELLANT’S PETITION FOR PANEL OR EN BANC REHEARING
                     ________________

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               CERTIFICATE OF INTERESTED PERSONS
              AND CORPORATE DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Appellate Procedure 26.1 and 11th Cir. R. 26.1-

2(b), Appellant Brinker International, Inc. hereby certifies that upon information

and belief, the following persons and entities have an interest in the outcome of

this case.

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       2.    Alamillo, Peter (former Plaintiff)

       3.    Amador, Angelo I. (counsel for Amicus Curiae Restaurant Law

             Center)

       4.    Anderson, Jaclyn L. (counsel for Plaintiffs/Appellees)

       5.    Barthle, Patrick A. (counsel for Plaintiffs/Appellees)

       6.    Brinker International, Inc.; NYSE:EAT (Defendant/Appellant)

       7.    Chamber of Commerce of the United States of America (Amicus

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       8.    Clark, Miles (counsel for Plaintiffs/Appellees)

       9.    Cornelia, Sarah B. (counsel for Defendant/Appellant)

       10.   Corrigan, Hon. Timothy J. (U.S. District Court Chief Judge in

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       11.   Cox, Barton W. (counsel for Defendant/Appellant)



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     25.   The Hannon Law Firm, LLC (counsel for Plaintiffs/Appellees)

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     43.   National Retail Federation (Amicus Curiae)

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     45.   Perez, Frank A. (counsel for Plaintiffs/Appellees)

     46.   Reddy, Kenya (counsel for Plaintiffs-Appellees)

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     48.   Retail Litigation Center, Inc. (Amicus Curiae)

     49.   Richardson, Hon. Monte C. (U.S. Magistrate Judge in originating

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     50.   Sanders, Fred (former Plaintiff)

     51.   Sauder, Joseph G. (counsel for Plaintiffs/Appellees)

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     55.   Sorrell, W. Drew II (counsel for Defendant/Appellant)

     56.   Steinmetz, Eric (Plaintiff/Appellee)

     57.   Summers, Daniel (former Plaintiff)

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      59.   Theus, Shenika (Plaintiff/Appellee)

      60.   Varcoe, Andrew R. (counsel for Amicus Curiae Chamber of

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      61.   White, Deborah R. (counsel for Amicus Curiae Retail Litigation

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      62.   Wolfson, Tina (counsel for Plaintiffs/Appellees)

      63.   Yanchunis, John Allen (counsel for Plaintiffs/Appellees)



      Corporate Disclosure Statement

      Brinker International, Inc. (“Brinker”) is a publicly traded corporation

(NYSE: EAT). Brinker has no parent company, and no publicly held corporation

owns 10% or more of Brinker’s stock.

                                          /s/ Jonathan S. Franklin
                                          Jonathan S. Franklin

August 15, 2023                           Counsel for Appellant




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                     RULE 35 STATEMENT OF COUNSEL

      I express a belief, based on a reasoned and studied professional judgment,

that—for the reasons Judge Branch stated in her dissent—the panel decision is

contrary to the following decisions of the Supreme Court of the United States or

the precedents of this circuit and that consideration by the full court is necessary to

secure and maintain the uniformity of decisions in this court: TransUnion LLC v.

Ramirez, 141 S. Ct. 2190 (2021); Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442

(2016); Comcast Corp. v. Behrend, 569 U.S. 27 (2013); and Wal-Mart Stores, Inc.

v. Dukes, 564 U.S. 338 (2011).

      Further, I express a belief, based on a reasoned and studied professional

judgment, that this appeal involves one or more questions of exceptional

importance:

      Whether, under the Rules Enabling Act, Fed. R. Civ. P. 23, and the
      precedents cited above, a court can premise class certification on a
      plan to award “average” damages to claimants for injuries those
      claimants undisputedly did not suffer.

By answering that question incorrectly, the panel’s decision invites an unwarranted

proliferation of improper class actions in this Circuit.

                                            /s/ Jonathan S. Franklin
                                            Jonathan S. Franklin

August 15, 2023                             Attorney of Record for Appellant




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                    STATEMENT OF THE ISSUE
            ASSERTED TO MERIT EN BANC CONSIDERATION

      To be certified for class action resolution under Federal Rule of Civil

Procedure 23(b)(3), damages claims must be “sufficiently cohesive,” meaning that

issues common to all claims must predominate over individualized issues. Tyson

Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 453 (2016) (quotation omitted). This

petition presents the critically important question whether, when individualized

issues relating to injury and damages predominate, a plaintiff can artificially

manufacture the required cohesiveness by proposing to simply award the exact

same “average” damages amounts, across multiple separate and distinct categories

of damages, to every putative claimant even if that claimant did not suffer any of

the injuries those damages purport to compensate.

      The panel majority blessed a district court plan to do just that. For the

reasons Judge Branch explained in dissent, however, that ruling contravenes the

Rules Enabling Act, Rule 23, Article III, and binding Supreme Court precedent.

The Rules Enabling Act “forbids interpreting Rule 23 to ‘abridge, enlarge or

modify any substantive right;’” therefore, “a class cannot be certified on the

premise” that a defendant cannot raise individualized defenses to damages claims.

Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 367 (2011) (quoting 28 U.S.C. §

2072(b)). It would thus violate that statute to “giv[e] plaintiffs and defendants

different rights in a class proceeding than they could have asserted in an individual
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action.” Tyson Foods, 577 U.S. at 458-59. And under Article III, federal courts

cannot award anyone damages for an injury they did not suffer. See TransUnion

LLC v. Ramirez, 141 S. Ct. 2190, 2208 (2021) (“Article III does not give federal

courts the power to order relief to any uninjured plaintiff, class action or not,” and

“plaintiffs must demonstrate standing for each … form of relief that they seek”).

The majority’s decision contravenes these bedrock principles.

      This case is a putative class action involving a 2018 incident at certain

Chili’s restaurants, owned by appellant Brinker International, Inc. (“Brinker”), in

which some customers’ payment-card data was allegedly compromised. The

named plaintiffs sought to represent cardholder classes (now just one) seeking out-

of-pocket damages, lost reward-card opportunity damages, and other inherently

individualized damages arising from purported mitigation actions that some class

members may have taken due to the incident. In certifying the first-ever payment-

card data breach consumer class action,1 the district court adopted plaintiffs’

proposal to sidestep the inherently individualized issues of who actually suffered


1      Cf., e.g., Beck v. McDonald, 848 F.3d 262, 270-78 (4th Cir. 2017) (affirming
dismissal of similar claims for lack of standing); McGlenn v. Driveline Retail
Merch., Inc., 2021 WL 165121, at *8-11 (C.D. Ill. Jan. 19, 2021) (denying
certification); In re Hannaford Bros. Co. Customer Data Sec. Breach Litig., 293
F.R.D. 21, 30-35 (D. Me. 2013) (same). See generally Amy B. Doolittle & Kristin
L. Bryan, Say It Isn’t So—Court Certifies Rule 23(b)(3) Damages Class in Data
Breach Litigation, Nat L. Rev. (Apr. 15, 2021) (https://tinyurl.com/2mdr73k7)
(describing district court’s certification as “a potential game changer”).

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those claimed injuries and in what amounts, and instead award every class member

“a standard dollar amount for lost opportunities to accrue rewards points

(whether or not they used a rewards card), the value of cardholder time (whether

or not they spent any time addressing the breach), and out-of-pocket damages

(whether or not they incurred any out-of-pocket damages).” Doc.167:7

(emphasis added).2 This methodology would thus compensate people for multiple

separate and distinct categories of injuries they concededly did not suffer, simply

because determining who suffered what injury, and in what amounts, would

necessarily require extensive individualized inquiries and thus preclude

certification. For example, under the district court’s plan, a person who never had

a rewards card or never cancelled one, and who therefore never “lost opportunities

to accrue rewards points,” would nevertheless receive a “standard” amount for that

non-existent injury. Id.

      The panel decertified the classes on other grounds and remanded for further

proceedings. But in a precedential opinion, and over Judge Branch’s dissent, the

panel majority expressly upheld the district court’s plan to award “average”


2     Under Eleventh Circuit Rule 28-5, Brinker cites appendix materials by ECF
document number as Doc.[DOCUMENT NUMBER]:[PINPOINT
CITATION(S)]:[LINE NUMBER(S)]. Where available, pinpoint citations refer to
page numbers generated by ECF headers. Sealed documents are identified as
Doc.[NUMBER] (SEALED DOCUMENT), [EXHIBIT
DESIGNATION]:[PINPOINT CITATION(S)].

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damages amounts to every class member for multiple categories of purported

injuries, regardless of whether they suffered a corresponding injury. Panel

Opinion (“Op.”) at 18-19. For the reasons Judge Branch set forth, the majority’s

erroneous determination requires immediate correction. A class action is “an

exception to the usual rule that litigation is conducted by and on behalf of the

individual named parties only.” Comcast Corp. v. Behrend, 569 U.S. 27, 33

(2013) (quotation omitted); see Am. Exp. Co. v. Italian Colors Rest., 570 U.S. 228,

234 (2013) (“[Rule 23] imposes stringent requirements for certification that in

practice exclude most claims.”). Yet under the majority’s analysis, disparately-

situated plaintiffs can now be treated identically, including by being compensated

for multiple categories of injuries they did not suffer, solely to artificially

manufacture the cohesiveness Rule 23(b)(3) requires. If that mistaken,

precedential ruling is allowed to stand, vast numbers of cases in this Circuit could

improperly be certified as class actions. The Court should grant rehearing or

rehearing en banc, vindicate Judge Branch’s dissent, and reverse.

            STATEMENT OF THE COURSE OF PROCEEDINGS
                  AND DISPOSITION OF THE CASE

      In 2018, criminal hackers targeted Brinker’s data systems and may have

accessed payment-card information of some patrons at certain Brinker-owned

Chili’s locations. Doc.167:2. A few Chili’s patrons filed this action later that year.

Doc.1. The operative complaint, filed in February 2020, asserts jurisdiction under
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the Class Action Fairness Act, 28 U.S.C. § 1332(d)(2), and brings claims for, inter

alia, negligence under Florida or Texas law and unfair competition under

California law, purportedly on behalf of a nationwide class. Doc.95:5, 39-69.

      In April 2021, the district court certified a nationwide class for the

negligence claims and a California class for the unfair competition claims. As to

the negligence claims, the class is defined as:

      All persons residing in the United States who made a credit or debit
      card purchase at any affected Chili’s location during the period of the
      Data Breach (March and April 2018) who: (1) had their data accessed
      by cybercriminals and, (2) incurred reasonable expenses or time spent
      in mitigation of the consequences of the Data Breach.

Doc.167:37. The unfair competition class definition is substantively identical but

limited to California residents. Doc.167:37-38.

      In September 2021, this Court granted interlocutory appeal of the class-

certification order under Federal Rule of Civil Procedure 23(f). In July 2023, the

panel issued a judgment vacating in part and remanding, but approving key

portions of the district court’s flawed analysis. Op. 19. As relevant here, the panel

rejected “Brinker’s claim that individualized damages claims will predominate

over the issues common to the class under Rule 23(b).” Id. at 16-19. Judge

Branch dissented from that ruling. Dissent 6-13.




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STATEMENT OF FACTS NECESSARY TO ARGUMENT OF THE ISSUES

      A.     The District Court’s Opinion.

      The plaintiffs’ proposed classes were defined to include only those Chili’s

patrons who “incurred reasonable expenses or time spent in mitigation of the

consequences” of the data incident. Doc.167:37; see also Op. 19. It is

indisputable, however, that determining who among the 4.5 million allegedly

affected cardholders incurred reasonable expenses or time spent in mitigation of

the consequences of the breach, and in what type and amount, would require

extensive individualized adjudication regarding each cardholder’s circumstances.

      Nevertheless, in the hope of improperly transforming those inescapably

individualized issues into a common one, plaintiffs proffered an expert, Daniel

Korczyk. Korczyk proposed to “employ[] an averages method” that allocates

equally to every class member an “average” amount for each category of damages

asserted by any class member, regardless of whether the compensated person

actually suffered the corresponding injury. Doc.167:7-8. Thus, based on

Korczyk’s non-scientific estimate that 76% of class members would have lost

opportunities to accrue rewards points while replacing a rewards card, plaintiffs

propose to award a flat sum (76% of Korczyk’s estimate of the average value of

that loss) to every class member for lost rewards points, expressly including those

who did not even have a rewards card, much less cancelled one because of the


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incident. See Doc.132-1:15-17, ¶¶ 40-45. The “lost reward point” damages that

would be awarded to all class members, including those who did not experience

the corresponding injury—which Korczyk conceded might be a “windfall” to

those class members—would be paid for by reducing the damages available to any

claimant who did experience them by 24%. Doc.146 (SEALED DOCUMENT),

Ex. A-13 at 206:11-207:17; Doc.132-1:17.

      The district court acknowledged that Korczyk’s method ignores material

differences among individual class members and alters their available recoveries.

See supra at 6-7; Doc.167:7-8, 32-33 (recognizing that “all class members” would

receive a “standard dollar amount[s]” for various categories of injuries “whether or

not” they actually suffered those injuries.”). Yet based on its belief that “the

Supreme Court has approved the use of averages methods to calculate damages,”

the district court deemed the approach sufficient to satisfy predominance.

Doc.167:7-8, 32-33 (citing Tyson Foods, 577 U.S. at 459-61).

      B.     The Panel Majority Opinion And Dissent.

      This Court granted Rule 23(f) review and, although vacating class

certification and remanding on other grounds,3 the panel majority approved the


3      The majority held that the district court erred in performing its
predominance analysis under Cordoba v. DIRECTV, LLC, 942 F.3d 1259 (11th
Cir. 2019), by failing to “determine whether its class definitions would require
individualized proof of standing.” Op. 15-16 n.13. If the majority’s approval of
Korczyk’s methodology is overturned, however, outright reversal would be
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district court’s analysis as to Korczyk. The majority reasoned that “[a]t the class

certification stage, all that the named plaintiffs had to prove was that a reliable

damages methodology existed, not the actual damages plaintiffs sustained.” Op.

17. And despite repeating the district court’s damning admissions that Korczyk’s

model would award each class member a “standard” amount for certain injuries

“whether or not” they suffered them, the majority approved the methodology,

stating that the model was permissible under Tyson Foods because Korczyk

“believed the ‘delta between class members’ damages is minimal irrespective of

the type of card used or time spent.’” Id. at 18.

      Judge Branch dissented from the majority’s damages analysis for two

fundamental reasons. Dissent 6-13. First, she explained, the majority’s assertion

that each “‘customer fitting within the class definitions experienced a similar

injury’ … cannot be true.” Id. at 10 (quoting Op. 19). Instead, “[a]s the district

court acknowledged, Plaintiffs’ damages methodology could allow a plaintiff to be

compensated for opportunities to accrue rewards points, the value of their time

spent addressing the breach, and out-of-pocket damages,” whether or not that

plaintiff suffered each of those “separate and distinct injuries.” Id. at 10-11. Such




warranted because individualized damages inquiries into whether and to what
extent any class member suffered any category of mitigation injuries would
necessarily predominate over any common issues, thus defeating certification.

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a model would thus allow certain plaintiffs to “impermissibly recover damages that

they otherwise would not be entitled to in an individual action.” Id. at 11 (citing

Comcast, 569 U.S. at 35).

      Second, Judge Branch rejected the majority’s reliance on Tyson Foods. Id.

“Far from categorically ‘approv[ing] the use of averages methods to calculate

damages,’” she explained, Tyson Foods “was careful to reject any request to

‘establish general rules governing the use of statistical evidence, or so-called

representative evidence, in all class-action cases.’” Id. (quoting 577 U.S. at 455)

(alteration original). Instead, “[t]he Court noted that plaintiffs in that case ‘sought

to introduce a representative sample to fill an evidentiary gap created by the

employer’s failure to keep adequate records.’” Id. at 11-12 (quoting 577 U.S. at

456) (alteration and emphasis added). “And the Court concluded that reliance on

this representative evidence ‘did not deprive [the employer] of its ability to litigate

individual defenses,’ reasoning that ‘[s]ince there were no alternative means for the

employees to establish their hours worked,’ the employer was left to attack the

representative evidence itself.” Id. at 12 (quoting 577 U.S. at 457) (alterations

original). “The defense was thus ‘itself common to the claims made by all class

members.’” Id.

      “The justifications for using representative evidence that were present in

Tyson Foods,” Judge Branch continued, “are simply not present here.” Id.

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Determining if a class member possessed a rewards card, spent time addressing the

breach, and suffered out-of-pocket losses all involves evidence that “is not

inaccessible or controlled by Brinker,” but is instead “known and controlled by the

plaintiffs or … at least readily available through individualized examination” that

Brinker is entitled to conduct. Id. Thus, “unlike Tyson Foods, here, the use of

damages averages would deprive Brinker of its ability to litigate individual

defenses where a class member’s individual damages are discoverable.” Id.

                                    ARGUMENT

      The panel’s precedential decision contravenes clear Supreme Court

precedent. If left standing, it will provide a blueprint for named plaintiffs to

circumvent Rule 23(b)(3)’s predominance requirement in this Circuit. The Court

should grant rehearing and vindicate Judge Branch’s dissent.

I.    THE PANEL MAJORITY’S DECISION CONTRAVENES CLEAR
      SUPREME COURT HOLDINGS ON A FOUNDATIONAL LEGAL
      ISSUE.

      The Supreme Court has repeatedly confirmed the unlawfulness of

approaches such as Korczyk’s. See, e.g., Dissent 9-10; Wal-Mart, 564 U.S. at 367.

In Wal-Mart, the Court expressly rejected a proposed “Trial by Formula” for

reasons that apply equally here. 564 U.S. at 367. The proposal in Wal-Mart was

to (1) try a representative subset of claims, thereby establishing what percentage of

claims were supposedly valid; (2) multiply that percentage “by the average


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[damages] award in the sample set to arrive at the entire class recovery;” and (3)

divide that amount evenly across the class. Id. The Court held that “[b]ecause the

Rules Enabling Act forbids interpreting Rule 23 to ‘abridge, enlarge or modify any

substantive right,’” a class could not be certified “on the premise” that the

defendant could not litigate “defenses to individual claims.” Id. (quoting 28 U.S.C.

§ 2072(b)). Here, Korczyk proposes to substitute Wal-Mart’s representative mini-

trials with his own guesses from unverified, non-peer-reviewed internet sources.

E.g., Doc.132-1:15-16. But the same principle forecloses his effort: class action or

not, no federal court can order Brinker to compensate a plaintiff for an injury that

plaintiff did not in fact experience. See also, e.g., TransUnion, 141 S. Ct. at 2208.

      The Court reiterated Wal-Mart’s holding in Comcast, specifically rejecting a

model that “failed to measure damages resulting from” the particular injury

alleged. 569 U.S. at 36. A failure to tie damages to a plaintiff’s actual injury

“would reduce Rule 23(b)(3)’s predominance requirement to a nullity” by

rendering “any method of measurement ... acceptable so long as it can be applied

classwide, no matter how arbitrary the measurements may be.” Id. at 35-36

(quoted at Dissent 10) (emphasis original).

      The Court made the point again in Tyson Foods. The panel majority,

following the district court’s lead, wrongly interpreted Tyson Foods to establish

that plaintiffs have carte blanche to seek “damages … based on averages” in near-

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limitless circumstances. Op. 19; see also Doc.167:7-8, 33. As Judge Branch

correctly observed, however, Tyson Foods expressly refutes that notion. Dissent

10-12. In accord with Wal-Mart and Comcast, Tyson Foods explains that the use

of representative evidence in a class action is permissible only if that evidence

“could have been used to establish liability in an individual [case],” and its use

would “not deprive [the defendant] of its ability to litigate individual defenses.”

577 U.S. at 457-58. Otherwise, use of average damages “violate[s] the Rules

Enabling Act by giving plaintiffs and defendants different rights in a class

proceeding than they could have asserted in an individual action.” Id. at 458. And

the methodology was allowed in Tyson Foods only “to fill an evidentiary gap

created by the [defendant’s own] failure to keep adequate records.” Id. at 456.

      The majority’s decision contravenes that binding Supreme Court precedent.

As Judge Branch explained, an individual plaintiff who concededly did not suffer

a particular injury could never be compensated for that injury. Dissent 10-11.

But such improper compensation is the entire point of Korczyk’s “averages”

method. See Op. 18; Doc.167:7. The majority’s decision is wrong for that reason

alone. Moreover, even assuming, arguendo, that Korczyk’s model could establish

a prima facie case, it still would not demonstrate predominance. As Wal-Mart and

Tyson Foods explain, Brinker would be entitled to exercise its due process right to

defend against each individual claim by inquiring into what injury (if any) each

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individual claimant actually suffered.4 Indeed, Korczyk openly admits that many

class members did not suffer the injuries for which he proposes to compensate

them. See supra at 6-7. And unlike in Tyson Foods, the evidence at issue—

regarding whether claimants took mitigation actions and, if so, in what amounts—

is within the plaintiffs’ possession and readily ascertainable through individualized

inquiries. See Dissent 12. Brinker’s indisputable right to conduct those inquiries

independently defeats predominance. Tyson Foods, 577 U.S. at 458; Wal-Mart,

564 U.S. at 367. Yet the majority did not even address the issues of individualized

defenses or Brinker’s due process rights.

      This averages-over-real-world methodology is self-evidently wrong. In an

individual action, a person who never had, or never cancelled, a rewards cards

could never receive damages for “lost opportunities to accrue rewards points.”

Doc.167:7. Likewise, a cardholder who spent no time addressing the breach or

incurred no out-of-pocket costs cannot recover for those non-existent injuries, class

action or not. And determining who, among the 4.5 million people allegedly

affected by the incident, actually suffered those supposed injuries, and to what



4      In addition to abridging Brinker’s rights, Korczyk’s methodology abridges
absent class members’ rights. The “averaging” methodology lowers recoveries of
class members who took corresponding mitigation actions and awards that money
to others who did not. That is a quintessential Rules Enabling Act violation. A
class cannot be certified if the only way to do so is to “abridge … or modify” the
“substantive right[s]” of absent class members. Wal-Mart, 564 U.S. at 367.
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extent, would involve possibly millions of individualized inquiries that necessarily

will predominate over any common issues and defeat certification.5

II.   THE PANEL MAJORITY’S ERROR IS OF OVERRIDING LEGAL
      IMPORTANCE.

      The majority’s error undermines the very foundation of class-action law.

Under Rule 23, a court must examine in detail “the factual and legal issues

comprising the plaintiff’s cause of action” and, based on those issues, determine

whether the prerequisites to certification “have been satisfied.” Comcast, 569 U.S.

at 33-34 (quotation marks omitted). Such inquiries require an honest accounting of

what issues each individual claim would raise. See, e.g., id. at 35-38.6 Thus, for




5      The majority’s observation that certification requires only proof “that a
reliable damages methodology exist[s],” not proof of “the actual damages plaintiffs
sustained,” Op. 17, is irrelevant. Korczyk did not even try to “show[] that
damages are capable of being calculated on an individual class member basis.”
Doc.152:5. Nor, as Judge Branch explained, is it relevant that Korczyk “believed
the ‘delta between class members’ damages is minimal.’” Op. 18; cf.
Dissent 10-11. That “delta” cannot be known without determining claimants’
purported actual damages, which is precisely what Korczyk’s methodology is
designed to avoid doing. If Korczyk’s unsupportable ipse dixit could establish
predominance, the requirement would be meaningless. Cf. Comcast, 569 U.S. at
36 (rejecting approach that “would reduce Rule 23(b)(3)’s predominance
requirement to a nullity”).

6     See also Fed. R. Civ. P. 23(c)(1) advisory committee’s note to 2003
amendment (“A critical need is to determine how the case will be tried.”); 2
Newberg & Rubenstein on Class Actions § 4:55 (6th ed.) (“The potentially
individualized nature of affirmative defenses requires that courts consider such
defenses in undertaking the predominance analysis.”).

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instance, “[i]ndividualized damages issues defeat predominance if computing them

will be so complex, fact-specific, and difficult that the burden on the court system

would be simply intolerable” or if “they are accompanied by significant

individualized questions going to liability.” Brown v. Electrolux Home Prods.,

Inc., 817 F.3d 1225, 1240 (11th Cir. 2016) (quotations omitted). But the

majority’s endorsement of a plan to simply ignore the facts of each claim nullifies

that rule. If Korczyk’s approach were permissible—and class members could be

compensated for injuries they never suffered and could never prove—Rule 23’s

stringent requirements would be eviscerated in vast numbers of cases.

      If allowed to stand, that ruling would make this Circuit a magnet for

unjustified class actions. The majority approved a methodology under which any

named plaintiff could easily avoid individualized damages inquiries simply by

having an expert calculate an “average” damage amount and then award that

amount to every class member, regardless of whether each suffered a

corresponding injury. Nor is there any apparent reason why that end-run would be

limited to issues of injury and damages. For example, when individual reliance is

an element of a fraud claim, it precludes class certification because whether a

claimant relied on a statement or omission requires examining that individual’s

specific circumstances. See, e.g., Tershakovec v. Ford Motor Co., Inc., __ F.4th

__, 2023 WL 4377585, at *4 (11th Cir. July 7, 2023). But under the panel

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majority’s analysis, a named plaintiff could achieve certification merely by having

an expert calculate an “average” reliance rate—even using the sort of non-case-

specific internet research Korczyk used here—and award the same “average”

damages amount to every class member regardless of whether they could actually

prove reliance. The same is true for virtually any other individualized issue.

      As explained, multiple Supreme Court precedents clearly refute the

majority’s analysis, which is likely why even plaintiffs disclaimed that argument.7

Nor has any other circuit adopted its flawed reasoning, If allowed to stand, that

precedential decision would constitute a dramatic and deeply consequential

transformation of class action jurisprudence in this Circuit. It would also invite

forum shopping and make this Circuit a hotbed for improper class actions. As is

widely recognized, class-action litigation and settlements impose enormous costs

on American businesses—and thus consumers—that often bear little or no relation

to the merits of any underlying claims. See, e.g., Chamber of Commerce Merits

Amicus Br. 18-21. And given the “risk of ‘in terrorem’ settlements that class


7      On appeal, the plaintiffs (implausibly) disclaimed any notion that class
members would receive damages for injuries they did not suffer, deriding as
“false,” “woefully inaccurate,” and reliant on “out-of-context quotes” any assertion
that certification was premised on such a plan. Rule 23(f) Opp. 16-17; see also
Appellees’ Br. 45 (similar). Yet the panel majority approved the exact plan
plaintiffs were unwilling to defend: a methodology that awards every class
member “a standard dollar amount” for damages categories “whether or not” they
suffered the corresponding injuries. Op. 18.

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actions entail,” AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 350 (2011), the

majority’s ruling will likely cause the payment of millions or billions in

unjustifiable litigation and settlement costs—ultimately borne by consumers—as

district courts, following that rule, could certify classes contemplating payments to

class members regardless of injury. Only rehearing and reversal can correct that

error—which contravenes the Rules Enabling Act, Rule 23, and the Constitution—

before it becomes precedent for all future class actions in this Circuit.

                                    CONCLUSION

       The Court should grant rehearing or rehearing en banc and reverse the

district court’s certification order.

                                        Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE
                    WITH WORD VOLUME LIMITATION

      This document complies with the type-volume limitations of Fed. R. App. P.

35(b)(2)(A) and 11th Cir. R. 35-1 because it contains 3,894 words, excluding the

parts exempted by that Rule.

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                                       /s/ Jonathan S. Franklin
                                       Jonathan S. Franklin

August 15, 2023                        Counsel for Appellant
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                          CERTIFICATE OF SERVICE

      I hereby certify that on August 15, 2023, I electronically filed the foregoing

document with the Clerk of Court for the United States Court of Appeals for the

Eleventh Circuit by using the Court’s CM/ECF system, which served the document

by email on counsel for all parties.



                                           /s/ Jonathan S. Franklin
                                           Jonathan S. Franklin

August 15, 2023                            Counsel for Appellant
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                        APPENDIX A
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                                                                  [PUBLISH]
                                       In the
                United States Court of Appeals
                           For the Eleventh Circuit

                            ____________________

                                   No. 21-13146
                            ____________________

       MARLENE GREEN-COOPER,
       individually and on behalf of all others similarly situated, et al.,
                                                                      Plaintiffs,
       ERIC STEINMETZ,
       individually and on behalf of all others similarly situated,
       MICHAEL FRANKLIN,
       individually and on behalf of all others similarly situated,
       SHENIKA THEUS,
       individually and on behalf of all others similarly situated,
                                                         Plaintiffs-Appellees,
       versus
       BRINKER INTERNATIONAL, INC.,
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                                                            Defendant-Appellant.


                               ____________________

                   Appeal from the United States District Court
                        for the Middle District of Florida
                    D.C. Docket No. 3:18-cv-00686-TJC-MCR
                            ____________________

       Before WILSON, BRANCH, and TJOFLAT, Circuit Judges.
       TJOFLAT, Circuit Judge:
              Brinker International, Inc. (“Brinker”), the owner of Chili’s
       restaurants, faced a cyber-attack in which customers’ credit and
       debit cards were compromised. Chili’s customers have brought a
       class action because their information was accessed (and in some
       cases used) and disseminated by cybercriminals. Below, the Dis-
       trict Court certified the class, and Brinker appeals that decision.
       We vacate in part and remand for further proceedings.
                                             I.
              Between March and April 2018, hackers targeted the Chili’s
       restaurant systems and stole both customer card data and person-
       ally identifiable information.1 Plaintiffs explain that hackers then
       took that data and posted it on Joker Stash, an online marketplace


       1 Different locations were affected at different periods within this timeframe.
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       for stolen payment data. The plaintiffs explain that, based on
       Brinker’s internal reporting, the information for all 4.5 million
       cards the hackers accessed in the Brinker system were found on
       Joker Stash.
             There are three named plaintiffs in this case: Shenika Theus,
       Michael Franklin, and Eric Steinmetz.2 Theus is a Texas resident
       who used her card at Chili’s in Texas on or about March 31, 2018.
       She experienced five unauthorized charges on the card she had
       used at Chili’s and canceled the card as a result, disputing the
       charges that were not hers. She now spends time monitoring her
       account to make sure there is no further misuse.
              Franklin is a California resident who made two Chili’s pur-
       chases in the relevant timeframe, one on or about March 17, 2018,
       and one on or about April 22, 2018. Franklin experienced two un-
       authorized charges on his account, so he canceled that credit card,
       spoke for hours on the phone with bank representatives, and went
       to the Chili’s locations he had visited to collect receipts for his trans-
       actions. 3 His bank canceled the affected card.




       2 These plaintiffs, originally filing individual actions, moved to consolidate
       their cases. The District Court granted that motion.
       3 The locations Franklin visited were affected by the data breach between
       March 30, 2018–April 22, 2018, and March 22, 2018–April 21, 2018, respec-
       tively. Franklin visited the first Chili’s on or about March 17, 2018, 13 days
       before the affected period, and he visited the second Chili’s on or about April
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              Steinmetz is a Nevada resident who used his credit card at a
       Nevada Chili’s on or about April 2, 2018. Steinmetz called the
       Chili’s national office, the local Chili’s chain, credit reporting agen-
       cies, and his bank as a result of the data breach. He canceled the
       card he used at Chili’s but never experienced fraudulent charges.
              Pertinent to this appeal, 4 these three plaintiffs moved to cer-
       tify two classes under Federal Rules of Civil Procedure 23(a) and
       23(b)(3), 5 seeking both injunctive and monetary relief: 1) a nation-
       wide class (or alternatively a statewide class) for negligence and 2)
       a California statewide class for California consumer protection
       claims based on its unfair business practices state laws. They were
       defined as follows:
               1. All persons residing in the United States who
                  made a credit or debit card purchase at any af-
                  fected Chili’s location during the period of the
                  Data Breach (the “Nationwide Class”).
               2. All persons residing in California who made a
                  credit or debit card purchase at any affected Chili’s



       22, 2018, one day after the affected period for the second Chili’s. His card had
       also previously been compromised in a Whole Foods data breach in 2017.
       4 Plaintiffs originally brought a variety of other claims that are not before us.
       We do not address them here.
       5 Plaintiffs proffered a declaration from a damages expert to establish that a
       common methodology for calculating damages for individual class members
       existed.
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                  location during the period of the Data Breach (the
                  “California Statewide Class”).
             The District Court then certified the nationwide class for the
       negligence claim as follows:
             All persons residing in the United States who made a
             credit or debit card purchase at any affected Chili’s lo-
             cation during the period of the Data Breach (March
             and April 2018) who: (1) had their data accessed by
             cybercriminals and, (2) incurred reasonable expenses
             or time spent in mitigation of the consequences of the
             Data Breach (the “Nationwide Class”).

       The District Court also certified a separate California class under
       the state unfair competition laws:
             All persons residing in California who made a credit
             or debit card purchase at any affected Chili’s location
             during the period of the Data Breach (March and
             April 2018) who: (1) had their data accessed by cyber-
             criminals and, (2) incurred reasonable expenses or
             time spent in mitigation of the consequences of the
             Data Breach (the “California Statewide Class”).

       We then permitted Brinker to appeal these class certifications pur-
       suant to Federal Rule of Civil Procedure 23(f).
                                        II.
             We review a district court’s certification of a class under Fed-
       eral Rule of Civil Procedure 23 for abuse of discretion. Hines v.
       Widnall, 334 F.3d 1253, 1255 (11th Cir. 2003). A district court
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       abuses its discretion when it certifies a class that does not meet the
       requirements of Rule 23. See id. (“In order to certify a class under
       the FRCP, all of the requirements of Rule 23(a) must be met, as
       well as one requirement of Rule 23(b).”).
               Class certification under Rule 23(b)(3), like in this case, is
       only appropriate if “the trial court is satisfied, after a rigorous anal-
       ysis, that the prerequisites of Rule 23(a) have been satisfied” and
       that “the questions of law or fact common to class members pre-
       dominate over any questions affecting only individual members”
       through “evidentiary proof.” Comcast Corp. v. Behrend, 569 U.S.
       27, 33, 133 S. Ct. 1426, 1432 (2013) (internal quotation marks and
       citations omitted). Rule 23 is more than “a mere pleading standard.
       A party seeking class certification must affirmatively demonstrate
       his compliance with the Rule—that is, he must be prepared to
       prove [the existence of the elements of Rule 23].” Wal-Mart Stores,
       Inc. v. Dukes, 564 U.S. 338, 350, 131 S. Ct. 2541, 2551 (2011).
               At the same time, “[m]erits questions may be considered to
       the extent—but only to the extent—that they are relevant to deter-
       mining whether the Rule 23 prerequisites for class certification are
       satisfied,” so a district court does not have a free-ranging “authority
       to conduct a preliminary inquiry into the merits of a suit” at the
       class certification stage “unless it is necessary to determine the pro-
       priety of certification.” Amgen Inc. v. Conn. Ret. Plans & Tr.
       Funds, 568 U.S. 455, 466, 133 S. Ct. 1184, 1195 (2013) (internal quo-
       tation marks and citations omitted).
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                                             III.
               On appeal, Brinker mounts three arguments: 1) the District
       Court’s class certification order violates our precedent on Article
       III standing for class actions; 2) the District Court improvidently
       granted certification because the class will eventually require indi-
       vidualized mini-trials on class members’ injuries; and 3) the District
       Court erred by finding that a common damages methodology ex-
       isted for the class. We will address each in turn.
                                             IV.
                                              A.
              We start from the basic principle that at the class certifica-
       tion stage only the named plaintiffs need have standing. 6 Cordoba
       v. DIRECTV, LLC, 942 F.3d 1259, 1264 (11th Cir. 2019). Article III
       standing requires that 1) the plaintiff has experienced an injury that
       is concrete and particularized and actual or imminent, 2) the de-
       fendant’s conduct is the cause of the plaintiff’s injury, and 3) a


       6 We may review both the allegations in the complaint and evidence in the
       record so far to determine whether the named plaintiffs in this case have es-
       tablished Article III standing for class certification purposes. Cordoba v.
       DIRECTV, LLC, 942 F.3d 1259, 1264, 1271 (11th Cir. 2019) (looking at the
       allegations of named plaintiff to determine whether he had standing); Prado-
       Steiman ex rel. Prado v. Bush, 221 F.3d 1266, 1280–81 (11th Cir. 2000) (evalu-
       ating both named plaintiffs’ allegations and the lack of evidence of injury in
       the record for some claims while analyzing Article III standing); Griffin v. Dug-
       ger, 823 F.2d 1476, 1482 (11th Cir. 1987) (“Under elementary principles of
       standing, a plaintiff must allege and show that he personally suffered injury.”).
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       decision by the court would likely redress the plaintiff’s injury.
       Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61, 112 S. Ct. 2130,
       2136 (1992). As we’ll explain, only Theus satisfies Lujan’s standing
       analysis.
              We begin with the concrete injury analysis. For purposes of
       the concrete injury analysis under Article III, we have recognized
       three kinds of harm: 1) tangible harms, like “physical or monetary
       harms”; 2) intangible harms, like “injuries with a close relationship
       to harms traditionally recognized as providing a basis for lawsuits
       in American courts”;7 and, finally, 3) a “material risk of future
       harm” when a plaintiff is seeking injunctive relief. TransUnion
       LLC v. Ramirez, 141 S. Ct. 2190, 2204, 2210 (2021). And the Su-
       preme Court most recently clarified in TransUnion that a mere risk
       of future harm, without more, does not give rise to Article III stand-
       ing for recovery of damages, even if it might give rise to Article III
       standing for purposes of injunctive relief. Id. at 2210. We will take
       each of the named plaintiff’s standing analysis in turn.
             While each plaintiff puts forth a variety of allegations of
       harm in an effort to establish Article III standing, we need only


       7 Constitutional harms, like violations of the First Amendment, and reputa-
       tional harms, neither of which is at issue here, are examples of traditional
       harms for purposes of Article III standing. TransUnion LLC v. Ramirez, 141
       S. Ct. 2190, 2204 (2021). Stigmatic harm is another example of intangible in-
       jury giving rise to Article III standing. Laufer v. Arpan LLC, 29 F.4th 1268,
       1273 (11th Cir. 2022). Informational injuries can also give rise to Article III
       standing as intangible harms. TransUnion, 141 S. Ct. at 2214.
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       address one: hackers took these individuals’ data and posted it on
       Joker Stash.
               We said in Tsao that a plaintiff whose personal information
       is subject to a data breach can establish a concrete injury for pur-
       poses of Article III standing if, as a result of the breach, he experi-
       ences “misuse” of his data in some way. See Tsao v. Captiva MVP
       Rest. Partners, LLC, 986 F.3d 1332, 1343 (11th Cir. 2021). We typ-
       ically require misuse of the data cybercriminals acquire from a data
       breach because such misuse constitutes both a “present” injury and
       a “substantial risk” of harm in the future. Id. at 1343, 1344 (“[W]ith-
       out specific evidence of some misuse of class members’ data, a
       named plaintiff’s burden to plausibly plead factual allegations suffi-
       cient to show that the threatened harm of future identity theft was
       ‘certainly impending’—or that there was a ‘substantial risk’ of such
       harm—will be difficult to meet.” (emphasis in original and citation
       omitted)).
              All three plaintiffs maintain that their credit card and per-
       sonal information was “exposed for theft and sale on the dark
       web.” That allegation is critical. The fact that hackers took credit
       card data and corresponding personal information from the Chili’s
       restaurant systems and affirmatively posted that information for
       sale on Joker Stash is the misuse for standing purposes that we said
       was missing in Tsao.8 And it establishes both a present injury—


       8 In Tsao, we said that a plaintiff had not established standing based on a state
       common-law negligence claim after a data breach where he alleged only that
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         credit card data and personal information floating around on the
         dark web—and a substantial risk of future injury—future misuse of
         personal information associated with the hacked credit card. We
         hold that this is a concrete injury that is sufficient to establish Arti-
         cle III standing.9


         he had canceled his credit card and faced an increased risk of identity theft
         because the credit card system at a restaurant he visited had been hacked.
         Tsao, 986 F.3d at 1344. We said that because Tsao had not accompanied his
         allegations of increased risk of identity theft with allegations of misuse of any
         credit card data taken by the hackers in the restaurant breach, he could not
         meet Article III standing requirements. Id.
         9 We decided Tsao before TransUnion was published, but we see the two as
         consistent. TransUnion established that a common-law analogue analysis is
         required when plaintiffs allege a statutory violation. We did not conduct that
         analysis in Tsao in the context of a state common-law negligence claim. See
         TransUnion, 141 S. Ct. at 2208. But we think that the common-law analogue
         analysis is sui generis to legislature-made statutory violations because the Su-
         preme Court has not applied it to any other kind of intangible harm. For in-
         stance, constitutional harms, reputational harms, informational harms, and
         stigmatic harms are all intangible injuries that give rise to Article III standing,
         and the Supreme Court has never conducted the common-law analogue anal-
         ysis in determining whether these kinds of harms establish Article III standing.
         See Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520,
         531, 113 S. Ct. 2217, 2225 (1993) (infringement of free exercise); Meese v.
         Keene, 481 U.S. 465, 473, 107 S. Ct. 1862, 1867 (1987) (reputational harms);
         TransUnion, 141 S. Ct. at 2214 (identifying informational injuries as intangible
         harms); Laufer, 29 F.4th at 1272–73 (recognizing that under Supreme Court
         precedent both stigmatic and emotional harms have sufficed to establish Arti-
         cle III standing). So, we adhere to the reasoning of Tsao today. See United
         States v. Gillis, 938 F.3d 1181, 1198 (11th Cir. 2019) (explaining the prior panel
         precedent rule).
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                                               B.
                Although all three plaintiffs adequately allege a concrete in-
         jury sufficient for Article III standing, Franklin and Steinmetz’s al-
         legations face a fatal causation issue, even at this stage of litiga-
         tion.10
                The Third Amended Complaint alleged that Franklin visited
         two Chili’s restaurants during March and April of 2018; one in Car-
         son, California, and one in Lakewood, California. The at-risk
         timeframe for the Chili’s in Carson was subsequently determined
         to be March 30, 2018, to April 22, 2018. Franklin visited the Carson
         Chili’s on March 17, 2018—well outside the affected period. The
         District Court correctly concluded that “Franklin’s first transaction
         would not qualify him for the class without additional evidence, as
         he dined several days outside the affected time range.”
                 The at-risk timeframe for the Chili’s in Lakewood was
         March 22, 2018, to April 21, 2018. Franklin visited the Lakewood
         Chili’s on April 22, 2018—a day shy of the affected period. Falling
         outside the affected period poses a traceability problem for Frank-
         lin’s allegations. Without any allegation that he dined at a Chili’s
         during the time that that Chili’s was compromised in the data
         breach, Franklin fails to allege that his injury was “fairly . . .
         trace[able] to the challenged action of the defendant.” Lujan, 504


         10 Theus visited a Chili’s location during the breach period for that location.
         As such, her alleged injuries are fairly traceable to the Chili’s data breach.
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         U.S. at 560, 112 S. Ct. at 2136 (alterations in original) (internal quo-
         tation marks and citation omitted). 11
                The Third Amended Complaint also alleged that Steinmetz
         dined at the North Las Vegas Chili’s on April 4, 2018. The at-risk
         time frame for the North Las Vegas Chili’s was subsequently deter-
         mined to be April 4, 2018, to April 21, 2018. Therefore, if
         Steinmetz’s alleged dining date is true, he falls within the affected
         period. The record, however, shows that the allegation was
         slightly—but importantly—off the mark. Steinmetz stated in re-
         sponse to an interrogatory and in his deposition that he dined at
         the North Las Vegas Chili’s on April 2, 2018. 12
                  Much like with Franklin, therefore, Steinmetz does not have
         standing because the date he dined at Chili’s is right outside of the
         affected date range for that Chili’s. The proof required for a plain-
         tiff to establish standing varies depending on the stage of litigation.


         11 The District Court found that “while [Franklin’s Lakewood Chili’s transac-
         tion was] one day outside the [affected] range,” Brinker’s chart indicating the
         affected time periods for various Chili’s locations indicated that the end date
         of the affected period “could not [be] validate[d].” Therefore, the District
         Court included Franklin as part of the class due to that wiggle room in the
         affected date range. But this was error. Although the Brinker chart included
         a “[c]ould not validate date” disclaimer for its April 22, 2018, end date for the
         Carson Chili’s, the chart did not include such a disclaimer for the Lakewood
         Chili’s.
         12 Steinmetz initially stated in his deposition that he dined at the Chili’s on
         April 3, 2018, but later corrected himself when faced with documentation to
         the contrary that he dined there on April 2.
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         Lujan, 504 U.S. at 561, 112 S. Ct. at 2136 (“Since [the standing ele-
         ments] are not mere pleading requirements but rather an indispen-
         sable part of the plaintiff’s case, each element must be supported in
         the same way as any other matter on which the plaintiff bears the
         burden of proof, i.e., with the manner and degree of evidence re-
         quired at the successive stages of the litigation.”). At the class cer-
         tification stage, “it may be necessary for the court to probe behind
         the pleadings” to assess standing. Gen. Tel. Co. of Sw. v. Falcon,
         457 U.S. 147, 160, 102 S. Ct. 2364, 2372 (1982).
                Where, as here, the facts developed in discovery firmly con-
         tradict the allegation in the complaint, the District Court cannot
         rely on the complaint’s factual allegation. Plaintiffs make no argu-
         ment and provide no additional facts to cast doubt on Steinmetz’s
         discovery admissions that he dined at Chili’s outside of the at-risk
         time period. He therefore cannot fairly trace any alleged injury to
         Brinker’s challenged action. See Lujan, 504 U.S. at 560, 112 S. Ct.
         at 2136.
                                           C.
                 Having determined that one named plaintiff has standing,
         we turn to the class definitions because Rule 23(b)(3)’s predomi-
         nance analysis implicates Article III standing. Cordoba, 942 F.3d at
         1272–73 (“In some cases, whether absent class members can estab-
         lish standing may be exceedingly relevant to the class certification
         analysis required by Federal Rule of Civil Procedure 23.”). The
         predominance inquiry is especially important in light of TransUn-
         ion’s (and Cordoba’s) reminder that “every class member must
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         have Article III standing in order to recover individual damages”
         because a district court must ultimately weed out plaintiffs who do
         not have Article III standing before damages are awarded to a class.
         TransUnion, 141 S. Ct. at 2208; Cordoba, 942 F.3d at 1264 (“At
         some point before it may order any form of relief to the putative
         class members, the court will have to sort out those plaintiffs who
         were actually injured from those who were not.”).
              Turning to the class definitions the District Court certified,
         we have the following:
               All persons residing in the United States who made a
               credit or debit card purchase at any affected Chili’s lo-
               cation during the period of the Data Breach (March
               and April 2018) who: (1) had their data accessed by
               cybercriminals and, (2) incurred reasonable expenses
               or time spent in mitigation of the consequences of the
               Data Breach (the “Nationwide Class”).

               ...

               All persons residing in California who made a credit
               or debit card purchase at any affected Chili’s location
               during the period of the Data Breach (March and
               April 2018) who: (1) had their data accessed by cyber-
               criminals and, (2) incurred reasonable expenses or
               time spent in mitigation of the consequences of the
               Data Breach (the “California Statewide Class”).

                The District Court explained that its class definitions “avoid
         later predominance issues regarding standing and the inclusion of
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         uninjured individuals because now individuals are not in the class
         unless they have had their data ‘misused’ per the Eleventh Circuit’s
         Tsao decision, either through experiencing fraudulent charges or it
         being posted on the dark web.” So, under the class definitions, the
         District Court thought that the phrase “data accessed by cybercrim-
         inals” meant either that an individual had experienced fraudulent
         charges or that the hacked credit card information had been posted
         on the dark web. And, to make sure to clear any standing bar im-
         posed by Tsao, the District Court added an additional requirement
         that the individuals in the class must have tried to mitigate the con-
         sequences of the data breach.
                While the District Court’s interpretation of the class defini-
         tions surely meets the standing analysis we have outlined above for
         named plaintiff Theus, we note that the phrase in the class defini-
         tions “accessed by cybercriminals” is broader than the two deline-
         ated categories the District Court gave, which were limited to cases
         of fraudulent charges or posting of credit card information on the
         dark web. Therefore, we think it wise to remand this case to give
         the District Court the opportunity to clarify its predominance find-
         ing. It may either refine the class definitions to only include those
         two categories and then conduct a more thorough predominance
         analysis,13 or the District Court may instead conduct a


         13 The District Court centered its predominance analysis around the fact that
         it thought it had created class definitions in which all members of the class had
         standing. And, while that calculus is part of the predominance inquiry, Cor-
         doba, 942 F.3d at 1276, refining the class definitions is not necessary or
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         predominance analysis anew under Rule 23 with the existing class
         definitions based on the understanding that the class definitions as
         they now stand may include uninjured individuals under Tsao,
         who have simply had their data accessed by cybercriminals and
         canceled their cards as a result. See Cordoba, 942 F.3d at 1274
         (“The essential point, however, is that at some time in the course
         of the litigation the district court will have to determine whether
         each of the absent class members has standing before they could be
         granted any relief.”).
                 On remand, the District Court should also determine the vi-
         ability of the California class afresh. As discussed supra part IV.B,
         Franklin does not have standing to bring the alleged causes of ac-
         tion against Brinker, including the causes of action based in Califor-
         nia state law. Without a named plaintiff with standing to bring the
         California claims, the California class cannot survive.
                                               V.
               With standing sorted out, we are left with Brinker’s final
         claim that individualized damages claims will predominate over


         sufficient to satisfy the predominance inquiry as to standing under Cordoba.
         In the predominance analysis, a district court must determine whether “each
         plaintiff will likely have to provide some individualized proof that they have
         standing.” Id. at 1275. The District Court here did not determine whether its
         class definitions would require individualized proof of standing, especially as
         to time or effort expended to mitigate the consequences of the data breach.
         So, remand is appropriate to afford the District Court the opportunity to per-
         form that analysis.
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         the issues common to the class under Rule 23(b)(3). As a starting
         point, “the presence of individualized damages issues does not pre-
         vent a finding that the common issues in the case predominate.”
         Allapattah Servs., Inc. v. Exxon Corp., 333 F.3d 1248, 1261 (11th
         Cir. 2003). Individualized damages issues predominate if “compu-
         ting them will be so complex, fact-specific, and difficult that the
         burden on the court system would be simply intolerable” or if “sig-
         nificant individualized questions go[] to liability.” Brown v. Elec-
         trolux Home Prods., Inc., 817 F.3d 1225, 1240 (11th Cir. 2016) (in-
         ternal quotation marks omitted) (citing Klay v. Humana, Inc., 382
         F.3d 1241, 1260 (11th Cir. 2004), abrogated in part on other
         grounds by Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639,
         128 S. Ct. 2131 (2008)). And “[i]ndividualized damages issues are
         of course least likely to defeat predominance where damages can
         be computed according to some formula, statistical analysis, or
         other easy or essentially mechanical methods.” Sacred Heart
         Health Sys., Inc. v. Humana Mil. Healthcare Servs., Inc., 601 F.3d
         1159, 1179 (11th Cir. 2010) (internal quotation marks and citation
         omitted).
                 At the class certification stage, all that the named plaintiffs
         had to prove was that a reliable damages methodology existed, not
         the actual damages plaintiffs sustained. Plaintiffs must demon-
         strate that a “model purporting to serve as evidence of damages in
         this class action . . . measure[s] only those damages attributable to
         that theory.” Comcast, 569 U.S. at 35, 133 S. Ct. at 1433. And “[t]he
         first step in a damages study is the translation of the legal theory of
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         the harmful event into an analysis of the economic impact of that
         event.” Id. at 38, 133 S. Ct. at 1435 (emphasis in original and cita-
         tion omitted). Here, plaintiffs’ expert provided the District Court
         with a common methodology for calculating damages based on “a
         standard dollar amount for lost opportunities to accrue rewards
         points (whether or not they used a rewards card), the value of card-
         holder time (whether or not they spent any time addressing the
         breach), and out-of-pocket damages (whether or not they incurred
         any out-of-pocket damages).” 14 The plaintiffs’ expert used a dam-
         ages methodology based on averages because the expert believed
         the “delta between class members’ damages is minimal irrespective
         of the type of card used or time spent.”



         14 Plaintiffs’ expert does not purport to provide a damages methodology based
         on averages to determine actual damages for each plaintiff sustained as a result
         of the misuse of their personal information. Such inquiry into actual damages
         would surely be an individual inquiry. Rather, according to the expert, the
         out-of-pocket damages category includes:
                such items as penalties paid by cardholders in connection with
                not being able to use their cards to pay bills on time, gasoline
                to go back to the retail establishment where the breach oc-
                curred or to the cardholder’s bank or local police station, post-
                age and stationary, overnight replacement card shipping fees,
                bank charges to replace cards (while unusual this cost does oc-
                cur on occasion), ATM fees to get access to cash, and hiring a
                third party to assist cardholder recovery and security efforts.
         The expert stated that data breaches typically yield damages attributable to
         this category somewhere in the ballpark of $38 per plaintiff.
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                 In our analysis of a damages methodology based on aver-
         ages, the focus is on “whether the sample at issue could have been
         used to establish liability in an individual action.” Tyson Foods,
         Inc. v. Bouaphakeo, 577 U.S. 442, 458, 136 S. Ct. 1036, 1048 (2016).
         In this case, each Chili’s customer fitting within the class definitions
         experienced a similar injury of a compromised card combined with
         some effort to mitigate the harm caused by the compromise. So,
         the damages methodology is not “enlarg[ing] the class members’
         substantive rights” by giving class members an award for an injury
         they could not otherwise prove in an individual action. Id. (internal
         alterations, quotation marks, and citation omitted). Through the
         District Court’s rigorous analysis, it found that at the class certifi-
         cation stage the damages model was sufficient, and it would be a
         “matter for the jury” to decide actual damages at trial. Id. at 459,
         136 S. Ct. at 1049. Any individual inquiry into particularized dam-
         ages resulting from the data breach, such as damages recoverable
         due to uncompensated loss caused by compromised personal infor-
         mation, does not predominate over the three categories of com-
         mon damages inquiries analyzed by the plaintiffs’ expert. We do
         not think, therefore, that the District Court’s determination on this
         point was an abuse of discretion, so we do not disturb it here.
                VACATED IN PART AND REMANDED.
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         21-13146 BRANCH, J., Concurring and Dissenting in Part               1

         BRANCH, J., Specially Concurring in Part and Dissenting in Part:
                 I write separately to address two issues discussed in the Ma-
         jority Opinion: standing and damages. First, while I agree with the
         Majority that Shenika Theus is the only named Plaintiff with stand-
         ing, I disagree with the Majority’s concrete injury analysis. Second,
         I dissent from the Majority’s approval of Plaintiffs’ damages meth-
         odology. I address each of these issues in turn.
                                   I.      STANDING
                  Beginning with standing, the Majority and I agree on several
         points. First, I agree that two of the three named Plaintiffs do not
         have standing. See Cordoba v. DIRECTV, LLC, 942 F.3d 1259,
         1264 (11th Cir. 2019) (explaining that only named plaintiffs need to
         demonstrate standing at the class certification stage). Specifically,
         I agree that Michael Franklin and Eric Steinmetz lack standing be-
         cause they failed to establish that their alleged injuries were “fairly
         . . . trace[able] to the challenged action of the defendant.” Lujan v.
         Defs. Of Wildlife, 504 U.S. 555, 560 (1992) (quotation omitted).
         Second, with respect to Shenika Theus, the remaining named
         Plaintiff, I agree that Theus can establish standing—but I arrive at
         that conclusion for different reasons than the Majority articulates.
         Accordingly, my standing discussion proceeds in two parts. I first
         explain why I part ways with the Majority’s approach and then ad-
         dress why Theus nonetheless establishes a concrete injury.
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         2           BRANCH, J., Concurring and Dissenting in Part 21-13146

                                                    A.
                To begin, I turn to my disagreement with the Majority’s
         concrete injury analysis, which rests on two erroneous conclusions
         about what Plaintiffs have alleged in their third amended consoli-
         dated class action complaint (“TAC”) (the operative complaint in
         this case). The Majority’s first conclusion rests on an allegation that
         is simply not contained in the TAC, and the Majority’s second con-
         clusion rests on an allegation that, when viewed in light of all the
         TAC’s allegations, does not establish a concrete injury.
                 The Majority first concludes that Plaintiffs have alleged that
         the “hackers took [their] data and posted it on Joker Stash” (an
         online marketplace for stolen payment data). 1 Plaintiffs’ TAC,
         however, contains no such allegation. Instead, Plaintiffs’ allega-
         tions concern only the risk of “potential fraud and identity theft”
         based on “expos[ure]” of Plaintiffs’ data due to the data breach—
         i.e., the risk of future harm. Accordingly, I respectfully disagree
         with the Majority’s conclusion that the named Plaintiffs have al-
         leged that their credit card information was posted on the dark
         web.


         1 The Majority concludes that the posting of one’s credit card information on
         the dark web is sufficient to establish a concrete injury for all three named
         Plaintiffs. To be clear, my dissent does not address whether an allegation that
         hackers stole Plaintiffs’ data and posted it for sale on the dark web sufficiently
         establishes a concrete injury. I write separately because, even assuming such
         an allegation was sufficient for concreteness, Plaintiffs have simply not made
         that allegation in this case.
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         21-13146 BRANCH, J., Concurring and Dissenting in Part                        3

                As to its second conclusion, the Majority points to Plaintiffs’
         TAC allegation that their personal information was “exposed for
         theft and sale on the dark web” as “critical” to establishing a con-
         crete injury. Because Plaintiffs’ allegations about mere “exposure”
         to the theft and sale of their information simply point to an in-
         creased risk of identity theft and risk of future harm, however, I
         disagree that this concern establishes a concrete injury. I address
         the TAC, 2 the motion for class certification, and the class certifica-
         tion hearing in turn.3
                Starting with the TAC, Plaintiffs’ allegations concern only
         the risk of future harm. Plaintiffs describe their injury as “immi-
         nent and certainly impending” (i.e., futuristic) and fraud and iden-
         tity theft as “potential” (i.e., a mere risk). And allegations relating
         to the risk of future harm are insufficient to establish a concrete
         injury under Article III. TransUnion LLC v. Ramirez, 141 S. Ct.
         2190, 2210–11 (2021) (explaining that mere risk of future harm
         without more does not give rise to Article III standing for recovery
         of damages); Tsao v. Captiva MVP Rest. Partners, LLC, 986 F.3d
         1332, 1339 (11th Cir. 2021) (“[A] plaintiff alleging a threat of harm
         does not have Article III standing . . . .”); Muransky v. Godiva Choc-
         olatier, Inc., 979 F.3d 917, 927–28 (11th Cir. 2020). Indeed, we have


         2 The Majority confines its concrete injury analysis to the TAC.
         3 The district court and the parties on appeal rely on post-pleading litigation
         developments—like the motion for class certification and the class certification
         hearing—for their standing arguments.
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         4         BRANCH, J., Concurring and Dissenting in Part 21-13146

         held that “[e]vidence of a mere data breach does not, standing
         alone, satisfy the requirements of Article III standing” and that al-
         legations of an “increased risk” of identity theft based on a data
         breach are likewise insufficient. Tsao, 986 F.3d at 1344; Muransky,
         979 F.3d at 933 (explaining that the allegation that the plaintiff “and
         members of the class continue to be exposed to an elevated risk of
         identity theft” is the “kind of conclusory allegation [that] is simply
         not enough” for an Article III injury). Thus, because the Majority
         rests its concrete injury analysis on an allegation that amounts to
         the mere risk of future harm, I cannot join the Majority’s concrete
         injury analysis.
                The motion for class certification and the class certification
         hearing do not help Plaintiffs in establishing a concrete injury ei-
         ther. Plaintiffs’ motion for class certification largely echoes the
         TAC’s allegations, stating that “Plaintiffs . . . experienced the . . .
         harm of having their Customer Data exposed to fraudulent use”
         and that the “evidence will establish that [Brinker’s] conduct ex-
         posed [their customer data] to unauthorized third parties.” The
         motion makes no reference to Joker Stash—or any other site on the
         dark web—and states only once in passing that Plaintiffs’ customer
         data “ha[d] been exposed and found for sale on the dark web,”
         without any allegation of which of the Plaintiffs’ data was exposed
         or where such data was “found.” But, as I explain below, this pass-
         ing statement does not pass muster in light of Plaintiffs’ admissions
         at the class certification hearing.
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                 During the hearing on class certification, Plaintiffs stated
         that they had “uncontroverted evidence that the data that was
         taken from Brinker’s system was posted for sale and sold on the
         dark web.” According to Plaintiffs, at least 4.5 million cards were
         affected by the data breach and, according to documents they ob-
         tained from Fiserv (Brinker’s processor), those 4.5 million cards—
         i.e., one hundred percent of the cards used at Brinker’s locations
         during the affected time period—were posted on Joker Stash. De-
         spite these assertions at the hearing, however, when the district
         court asked Plaintiffs’ counsel whether she knew if any of the three
         named Plaintiffs’ cards were actually on the dark web, Plaintiffs’
         counsel responded: “[W]e do not know that at this point.” Accord-
         ingly, by counsel’s own admission, the record fails to support the
         conclusion that the named Plaintiffs’ credit card information was
         either posted or sold on the dark web as a result of the data breach.
         To the contrary, Plaintiffs admitted that they did not know if their
         credit card information was on the dark web.
                In sum, considering Plaintiffs’ admission that they do not
         know whether their data was posted or sold on the dark web, I can-
         not join the Majority’s concrete injury analysis—which rests on
         conclusions that are simply unsupported by the record. See Lujan,
         504 U.S. at 561 (explaining that the proof required for standing var-
         ies “with the manner and degree of evidence required at the suc-
         cessive stages of the litigation”); Gen. Tel. Co. of Sw. v. Falcon, 457
         U.S. 147, 160 (1982) (explaining that “it may be necessary for the
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         court to probe behind the pleadings” to assess standing at the class
         certification stage).
                                                  B.
                 Although I disagree with the Majority’s concrete injury anal-
         ysis, I nonetheless agree that Theus has suffered a concrete injury
         (and therefore has standing) for a different reason: she has estab-
         lished financial harm. In her deposition, Theus explained that her
         transactions at Chili’s, which occurred during the restaurant’s at-
         risk time frame,4 caused her to incur unauthorized charges on her
         account that led to an overdraft fee and a bank-imposed card re-
         placement fee. These unreimbursed, out-of-pocket expenses that
         Theus incurred are the type of “pocketbook injur[ies] [that are] . . .
         prototypical form[s] of injury in fact.” Collins v. Yellen, 141 S. Ct.
         1761, 1779 (2021); TransUnion, 141 S. Ct. at 2204 (explaining that
         “traditional tangible harms, such as . . . monetary harms” are “ob-
         vious” harms that “readily qualify as concrete injuries under Article
         III”). Accordingly, I conclude—for different reasons than the Ma-
         jority—that Theus has alleged a concrete harm sufficient for stand-
         ing.
                                II.     Damages Methodology

                 I now turn to the damages issue and conclude that the dis-
         trict court erred by accepting the damages methodology offered by


         4 As the Majority points out, Theus does not suffer the same traceability prob-
         lem that Franklin and Steinmetz do.
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         Plaintiffs’ expert for two reasons. First, the methodology fails to
         tie a damages amount to an injury actually suffered by a plaintiff.
         And second, the district court improperly relied on Tyson Foods,
         Inc. v. Bouaphakeo, 577 U.S. 442, 459–61 (2016).
                In support of their motion for class certification, Plaintiffs of-
         fered an expert declaration to explain their damages methodology.
         Plaintiffs’ expert set forth a “damages methodology applicable on a
         class-wide basis” by calculating four “damages elements”: (1) the
         value of any lost opportunity to accrue rewards points; (2) the
         value of stolen payment card data; (3) the value of cardholder time;
         and (4) out-of-pocket damages.
                 The district court rejected Brinker’s argument that the ex-
         pert’s methodology was overinclusive and not accurately tailored
         to the facts. It explained that “[u]nder [the expert’s] damages meth-
         odology, all class members would receive a standard dollar amount
         for lost opportunities to accrue rewards points (whether or not
         they used a rewards card), the value of cardholder time (whether
         or not they spent time addressing the breach), and out-of-pocket
         damages (whether or not they incurred any out-of-pocket dam-
         ages).” The court continued: “[Plaintiffs’ expert] employs an aver-
         ages method to compute damages, reasoning that the delta be-
         tween class members’ damages is minimal[,] irrespective of the
         type of card used or time spent.” It explained that “[a]s with any
         averages calculation, over or under inclusivity is going to be a risk,”
         and noted that “the Supreme Court” in Tyson Foods “has approved
         the use of averages methods to calculate damages.” The district
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         court concluded that “at this point [the expert’s] testimony [was]
         offered to show that a reliable damages calculation methodology
         exists, not to calculate class members’ damages.”
                Applying Rule 23(a)’s predominance requirement, the dis-
         trict court determined that Plaintiffs’ damages expert offered a
         common method of calculating damages that, despite including
         “payment cards that may have been breached prior to the Data
         Breach,” “shows for class certification purposes that a common
         method of addressing causation and damages exists.” The court
         opined:
               Most data breaches are very similar to one another,
               such that a jury may find that a relative average re-
               duction in damages for every class member that has
               been subjected to other data breaches is appropriate.
               As discussed above, the Supreme Court has approved
               the use of averages methods to calculate damages, see
               Tyson Foods, 577 U.S. [at] 459–61, and the same ra-
               tionale could apply here.
         Nevertheless, the district court caveated that “if it becomes obvi-
         ous at any time that the calculation of damages (including account-
         ing for multiple data breaches) will be overly burdensome or indi-
         vidualized, the [c]ourt has the option to decertify the class.”
                 Brinker argues that the district court erred by concluding
         that Plaintiffs’ “proposed damages methodology permissibly elim-
         inated individualized issues.” Brinker contends that because it is
         “entitled to scrutinize each individual claim at trial by referring to
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         each individual class member’s individual circumstances,” Plain-
         tiffs have not met Rule 23’s requirement that common issues pre-
         dominate over individual ones. Plaintiffs argue that the “district
         court did not abuse its discretion in finding [that they] met this
         standard.”
                 To certify a class under Rule 23(b)(3), a district court must
         determine that “questions of law or fact common to class members
         predominate over any questions affecting only individual mem-
         bers.” Fed. R. Civ. P. 23(b)(3). This predominance determination
         includes questions relating to damages. See Tyson Foods, 577 U.S.
         at 453–54; Agmen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S.
         455, 460 (2013). As the Majority points out, individual damages is-
         sues predominate “if computing them will be so complex, fact-spe-
         cific, and difficult that the burden on the court system would be
         simply intolerable” or if “significant individualized questions go[]
         to liability.” Brown v. Electrolux Home Prods., Inc., 817 F.3d 1225,
         1240 (11th Cir. 2016) (quotations omitted). Accordingly, in our
         analysis of a damages methodology based on averages, the focus is
         on “whether the sample at issue could have been used to establish
         liability in an individual action.” Tyson Foods, 577 U.S. at 458.
                 At the class-certification stage, “a model purporting to serve
         as evidence of damages . . . must measure only those damages at-
         tributable to” plaintiffs’ theory of liability in the case. Comcast
         Corp. v. Behrend, 569 U.S. 27, 35 (2013). “And for purposes of Rule
         23, courts must conduct a rigorous analysis to determine whether
         that is so.” Id. (quotation omitted). As such, a court must not only
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         evaluate whether a damages calculation “provide[s] a method to
         measure and quantify damages on a classwide basis,” but also
         whether such a methodology constitutes “a just and reasonable in-
         ference” or whether it is “speculative.” Id. Without this evalua-
         tion, “any method of measurement [could be] acceptable [at the
         class-certification stage] so long as it can be applied classwide, no
         matter how arbitrary the measurements may be.” Id. at 35–36.
         And “[s]uch a proposition would reduce Rule 23(b)(3)’s predomi-
         nance requirement to a nullity.” Id. at 36.
                Here, the district court approved a damages methodology
         that awards to all class members a standard dollar amount “for lost
         opportunities to accrue rewards points (whether or not they used
         a rewards card), the value of cardholder time (whether or not they
         spent any time addressing the breach), and out-of-pocket damages
         (whether or not they incurred any out-of-pocket damages).” In
         short, this methodology impermissibly permits plaintiffs to receive
         an award based on damages that they did not suffer—i.e., an award
         that a plaintiff could not establish in an individual action. Tyson
         Foods, 577 U.S. at 458.
                The Majority defends the use of representative evidence by
         asserting that each “customer fitting within the class definitions ex-
         perienced a similar injury,” but this assertion cannot be true. As
         the district court acknowledged, Plaintiffs’ damages methodology
         could allow a plaintiff to be compensated for opportunities to ac-
         crue rewards points, the value of their time spent addressing the
         breach, and out-of-pocket damages, even though the plaintiff
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         suffered none of those harms. Each of these damages elements re-
         late to separate and distinct injuries that may not be common to all
         class members, meaning that certain plaintiffs may impermissibly
         recover damages that they otherwise would not be entitled to in
         an individual action. See Comcast Corp., 569 U.S. at 35.
                The district court acknowledged that “[a]s with any averages
         calculation, over or under inclusivity is going to be a risk,” but cited
         Tyson Foods to say that “the Supreme Court has approved the use
         of averages methods to calculate damages.” But Tyson Foods is
         inapposite to the facts of this case.
                 In Tyson Foods, the Supreme Court approved the use of
         “representative evidence” to prove that the amount of time em-
         ployees spent “donning and doffing” their gear at a chicken plant,
         when added to their regular work hours, “amounted to more than
         40 hours in a given week” in order to be entitled to recovery under
         the Fair Labor Standards Act. Tyson Foods, 577 U.S. at 454. Far
         from categorically “approv[ing] the use of averages methods to cal-
         culate damages,” as the district court asserted, the Supreme Court
         was careful to reject any request to “establish general rules govern-
         ing the use of statistical evidence, or so-called representative evi-
         dence, in all class-action cases.” Id. at 455. Instead, the Court ex-
         plained that “[w]hether a representative sample may be used to es-
         tablish classwide liability will depend on the purpose for which the
         sample is being introduced and on the underlying cause of action.”
         Id. at 460. The Court noted that plaintiffs in that case “sought to
         introduce a representative sample to fill an evidentiary gap created
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         by the employer’s failure to keep adequate records.” Id. at 456.
         And the Court concluded that reliance on this representative evi-
         dence “did not deprive [the employer] of its ability to litigate indi-
         vidual defenses,” reasoning that “[s]ince there were no alternative
         means for the employees to establish their hours worked,” the em-
         ployer was left to attack the representative evidence itself. Id. at
         457. The defense was thus “itself common to the claims made by
         all class members.” Id.
                The justifications for using representative evidence that
         were present in Tyson Foods are simply not present here. In this
         case, the questions relevant to the damages inquiry include
         whether a given class member possessed a rewards card, spent time
         addressing a data breach, and suffered out-of-pocket losses. Unlike
         Tyson Foods, the evidence for the answers to those questions is not
         inaccessible or controlled by Brinker. To the contrary, that evi-
         dence would be known and controlled by the plaintiffs or is at least
         readily available through individualized examination. And unlike
         Tyson Foods, here, the use of damages averages would deprive
         Brinker of its ability to litigate individual defenses where a class
         members’ individual damages are discoverable.
                Considering that, under Plaintiffs’ averages methodology, a
         plaintiff could be compensated for a harm he did not suffer and that
         Tyson Foods does not justify the use of averages under the facts of
         this case, I am left to conclude that the district court erred by ac-
         cepting Plaintiffs’ damages methodology when certifying Plaintiffs’
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         proposed classes. Accordingly, I dissent from the Majority’s con-
         clusion to the contrary.
                                   *      *      *

                In sum, while I agree with the Majority’s bottom line that
         Theus is the only named Plaintiff with standing, I disagree with the
         Majority’s concrete injury analysis, and I conclude that Theus suf-
         fered an injury by establishing financial harm. Additionally, I dis-
         sent from the Majority’s approval of Plaintiffs’ damages methodol-
         ogy.
